         Case1:19-cv-11818-VEC
        Case  1:19-cv-11818-VEC Document
                                 Document27-1
                                          29 Filed
                                              Filed02/28/20
                                                    02/28/20 Page
                                                              Page11ofof22

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                            UNITED STATES DISTRICT COURT
                                                                             DOC #:
                           SOUTHERN DISTRICT OF NEW YORK
                                                                             DATE FILED: 2/28/2020

 TAKE-TWO INTERACTIVE SOFTWARE                     CASE NO. 1:19-cv-11818-VEC
 INC.,
                                                             ECF Case
                         Plaintiff,
                                                   STIPULATION AND [PROPOSED]
        v.                                         PRELIMINARY INJUNCTION
                                                   AGAINST DEFENDANT JOHNATHAN
 JOHNATHAN WYCKOFF and JOHN                        WYCKOFF
 DOES 1–10,

                         Defendants.


       WHEREAS, Take-Two Interactive Software, Inc. (“Take-Two”) filed a complaint

alleging direct copyright infringement, contributory copyright infringement, breach of contract,

and tortious interference with contract (Dkt. No. 1) against Defendant Johnathan Wyckoff

(“Mr. Wyckoff”);

       WHEREAS, Take-Two filed a motion for a preliminary injunction against Mr. Wyckoff

(Dkt. No. 10);

       WHEREAS, Mr. Wyckoff did not file an opposition to Take-Two’s motion and consents

to the issuance of Take-Two’s requested injunction;

       NOW, THEREFORE, upon the consent and request of Take-Two and Mr. Wyckoff, IT

IS HEREBY STIPULATED AND AGREED THAT:

       1.        Defendant Johnathan Wyckoff, and all persons acting in concert or participation

with him, is enjoined from directly or indirectly infringing Take-Two’s copyrights, including,

but not limited to, (a) creating derivative works based upon any portion of Take-Two’s video

games, including Grand Theft Auto V, Red Dead Redemption, and Red Dead Redemption II;

(b) producing or distributing any computer programs that alter Take-Two’s games, including

                                                -1-
          Case1:19-cv-11818-VEC
         Case  1:19-cv-11818-VEC Document
                                  Document27-1
                                           29 Filed
                                               Filed02/28/20
                                                     02/28/20 Page
                                                               Page22ofof22



without limitation the Red Dead Redemption Damned Enhancement Project and the Red Dead

Redemption II Project; and (c) from participating or assisting in any such activities (hereinafter,

the “Preliminary Injunction”).

        2.      This Preliminary Injunction shall take effect immediately and shall remain in

effect pending trial in this action or further order of this Court.

        3.      The Court shall retain jurisdiction to entertain such further proceedings and to

enter such further orders as may be necessary or appropriate to implement and/or enforce the

provisions of this preliminary injunction.

        4.      Mr. Wyckoff affirms that his consent to this Stipulation is given freely and

voluntarily, and after having had the opportunity to discuss same with legal counsel.


 DATED: February 28, 2020                                   DATED: February 28, 2020

 KIRKLAND & ELLIS LLP                                       THE LAW FIRM OF LEONARD J.
                                                            FRENCH


 /s/ Dale M. Cendali                                        /s/leonardjfrench
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 Attorney for Plaintiff
                                                            Attorney for Defendant Johnathan
                                                            Wyckoff




PURSUANT TO STIPULATION, IT IS SO ORDERED.
         February 28
 DATED: ________________, 2020

                                                             HON. VALERIE E. CAPRONI
                                                              United States District Judge

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